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                Exhibit A
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                               TrustedForm                                                                                                     Back to your account



Certificate of Authenticity for Web Leads                                                                                                                     Claimed


     Certificate       Screen Capture             Event Log          Claim History




         Certificate of Authenticity
         for Web Leads
         Certificate ID: e33d56c57352424c07841d4f200e1564dcdc9848




         This certificate was issued by TrustedForm.com from ActiveProspect, the independent Internet lead certification authority. It certifies the
         following information about this lead:




         When did they visit?
         Visit date:                                                                                                                   December 24, 2021

         Visit time:                                                                                                                       7:39:12 AM MST

         Time on page:                                                                                                                            4 seconds




         Where did they visit?
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Page URL:                                                                                      https://claim.foundmoneyguide.com/api/offer
                     TrustedForm                                                                                                 Back to your account



Who visited?
Remote IP Address:                                                                                                                73.18

Geographic Location (Approximate):                                                                   San Francisco, California, United States

Browser:                                                                                                                            Safari 15.2

Operating System:                                                                                                            Mac OS X 10.15.6




What did they see?
Trustedform captures a copy of the web page viewed by the visitor and the user events that took place on the
page including form inputs, mouse movements and clicks. It plays these events back as a screen capture of how
                                                                                                                        View Screen Capture
the user interacted with the page.




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